Case 2:19-cr-00001-JRG-RSP Document 47 Filed 08/30/19 Page 1 of 2 PageID #: 205



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §    NO. 2:19-CR-01
                                                    §
 MADILYNNE REID FARMER (02)                         §

                   ORDER ON JOINT MOTION FOR CONTINUANCE

         Having considered Government’s Motion for Continuance (Docket No. ____), the Court

 is of the opinion that said motion is meritorious and should be GRANTED.

         Rule 18 of the Federal Rules of Criminal Procedure and the Speedy Trial Act establish

 that a speedy trial and the prompt administration of justice are desirable ends that weigh against a

 continuance. Nonetheless, speed is neither the paramount, nor the only consideration. Many

 other important values may conflict with the need for speed in the trial of a criminal case. Delay

 in trial that promotes the fairness of the trial, and the purposes served by the trial, is delay well

 worth the administrative costs it may impose. Prompt justice must be fair, or it is not truly

 justice. “[A] myopic insistence upon expeditiousness in the face of a justifiable request for delay

 can render a right to defend with counsel an empty formality.” Ungar v. Sarafite, 376 U.S. 575,

 589 (1964); Kirkpatrick v. Blackburn, 777 F.2d 272, 278 (5th Cir. 1985), cert. denied, 476 U.S.

 1178 (1986).

         The ends of justice require this Court to continue the above entitled criminal action,

 giving consideration to the parties request for additional time as outlined above. The ends of

 justice outweigh the best interest of the public and the Defendant in a speedy trial. 18 U.S.C. §

 3161(h)(7)(A).
Case 2:19-cr-00001-JRG-RSP Document 47 Filed 08/30/19 Page 2 of 2 PageID #: 206



        The Speedy Trial Act excludes from computation of the time between indictment and

 trial any delay resulting from the grant of a continuance, if the judge finds that the ends of justice

 served by granting a continuance outweigh the interest of the public and the defendant in a

 speedy trial. 18 U.S.C. § 3161(h)(7)(A); see United States v. Eakes, 783 F.2d 499 (5th Cir.

 1986), cert. denied, 477 U.S. 906 (1986). It is so found, pursuant to 18 U.S.C. § 3161(h)(7)(A),

 and in the exercise of the Court’s discretion, it is found that the motion for continuance should be

 granted. Accordingly, it is

        ORDERED that the motion for continuance should be, and is hereby, GRANTED as to

 the defendant, Madilynne Reid Farmer. It is further

        It is further ORDERED that the new dates and deadlines are as follows:


 DEADLINES:

        Plea Deadline: September 1, 2020

 COURT SETTINGS:

        PRETRIAL CONFERENCE: September 14, 2020

        JURY SELECTION AND TRIAL: September 21, 2020

                So ORDERED and SIGNED this __th day of September, 2019




                                                    __________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE
